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 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,     )
11                                 )          CASE NO. 2:10-cr-00327 TLN
                 Plaintiff,        )
12                                 )          ORDER DISMISSING INDICTMENT
          v.                       )          AS TO JOHN PIERRE QUINTANA
13                                 )          ONLY
     AKBAR BHAMANI, ET AL.,        )
14                                 )
                 Defendant.        )
15   ______________________________)

16

17              Based on the the government's motion to dismiss the

18   indictment against John Pierre Quintana,

19              IT IS HEREBY ORDERED that the above-captioned indictment

20   be and hereby is dismissed as to John Pierre Quintana only.

21   DATED: October 1, 2013

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                                                Troy L. Nunley
25                                              United States District Judge
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